                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

   CIC SERVICES, LLC,                          )
                                               )       Case No. 3:17-cv-110
          Plaintiff,                           )
                                               )       Judge Travis R. McDonough
   v.                                          )
                                               )       Magistrate Judge Jill E. McCook
   INTERNAL REVENUE SERVICE,                   )
   DEPARTMENT OF TREASURY, and                 )
   THE UNITED STATES OF AMERICA,               )
                                               )
          Defendants.                          )


                                    JUDGMENT ORDER



        For the following reasons stated in the memorandum opinion filed contemporaneously

  herewith, Internal Revenue Service Notice 2016-16 is hereby VACATED. The Internal

  Revenue Service is hereby ORDERED to return to taxpayers and material advisors all

  documents and information produced pursuant Notice 2016-66. The Clerk of Court is

  DIRECTED to close the case.

        SO ORDERED.

                                            /s/ Travis R. McDonough
                                            TRAVIS R. MCDONOUGH
                                            UNITED STATES DISTRICT JUDGE

  ENTERED AS A JUDGMENT
    s/ LeAnna R. Wilson
    CLERK OF COURT




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